Case 2:24-cv-07445-LMG-LDW               Document 20      Filed 10/07/24    Page 1 of 1 PageID: 262
  Attorneys                                                                  Legal Professionals
  John P. Fazzio, III **                                                         Caitlin Gibbons #
  Zoltan Simon, II +                                                           Geovane Lemond ¢¶
  Melissa Pasquariello-Stefano %
  KEY
  ** Also Member of NY & PA
  % Also Member of NY                                                                                 KEY
  ₊ Member of NY Only                         PLEASE SEND ALL                     # Chief Operating Officer
  * Member of NJ Only                                                                           ¶ Paralegal
                                             CORRESPONDENCE
                                                                                     ¢ Billing Coordinator
                                          TO HACKENSACK ADDRESS
  Hackensack Office                                                              New York Office
  Court Plaza South                         P: (201) 529-8024                      305 Broadway
  21 Main Street, Ste. 255                  F: (201) 529-8011                  7th Floor, Suite 19
  Hackensack, NJ 07601                      www.fazziolaw.com                 New York, NY 10007


                                                  October 3, 2024

  VIA ELECTRONIC FILING
  Hon. Leo M. Gordon U.S.D.J.
  United States Court of International Trade
  One Federal Plaza                                                   ORDER
  New York, New York, 10278-0001

            Re:        ConvergeOne Inc. v. Ameream LLC
                       Docket No.: 2:24-cv-07445-LMG-LDW
                       L.Civ.R. 7.1(d)(5) – Automatic Extension Request

  Dear Judge Gordon:

            As you know, I represent Ameream LLC in connection with the above-referenced lawsuit.

          I write to request that the Clerk extend Ameream LLC’s time to respond to the current
  motion to dismiss filed by the plaintiff under Dkt. No. 18 for fourteen (14) days, through and
  including October 17th, 2024. The originally noticed motion date has not previously been extended
  or adjourned.

          I have discussed the matter counsel for ConvergeOne Inc. and advised him that we would
  be filing this automatic extension request. Mr. Cunio has no objection to the extension being
  granted. The proposed extended dates are set forth below. We appreciate the Court’s courtesies.

            L.Civ.R. 7.1(d)(5) Application Dates:

            New Motion Date:               November 4, 2024 (or later)
            Opposing Papers Due:           October 17th, 2024 (or 14 days prior to new motion date)
            Reply Papers Due:              October 28th, 2024 (or 7 days after opposition papers)

          SO ORDERED.                             Very truly yours,

          s/ Leo M. Gordon                        FAZZIO LAW OFFICES
          Leo M. Gordon, Judge
          Court of International Trade            /s/ John P. Fazzio
          (sitting by designation in the          JOHN P. FAZZIO, ESQ.
          District of New Jersey)
          Date: 10/7/2024
